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13                            UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                          Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of          DECLARATION OF A
   themselves and all others similarly situated,           S     IN SUPPORT OF
17               Plaintiffs,
                                                           PLAINTIFFS’ MOTIONS FOR
                                                           PRELIMINARY INJUNCTION
18        v.                                               AND PROVISIONAL CLASS
                                                           CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4316208 3]
          DECLARATION OF A       S     IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                         INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 I, A       S     , declare:
 2                 1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support of
 4 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.     I have been incarcerated at FCI Dublin since August 2020. In the future
 6 BOP may transfer me to other BOP facilities including but at any point I could be
 7 transferred back to FCI Dublin.
 8                 3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
 9 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
10 and put myself and other incarcerated persons at substantial risk of imminent, serious harm
11 from sexual assault, harassment, and retaliation from staff.
12                 4.     While at FCI Dublin, I have experienced sexual abuse by Officer Smith and
13 was harassed by Officers Deluca, Ramos, and Lewis.
14                 5.     After I was released from quarantine following my arrival at FCI Dublin
15 after serving a state prison term, I was housed in C-Unit. In September 2020, Officer
16 Smith first initiated conversation with me. We referred to him as “Dirty Dick Smith.” He
17 would call me into his office and ask me about my time in state prison. He would explain
18 his understanding that state prison was nothing like BOP, that in “state” prison officials
19 would provide contraband to women incarcerated in order to obtain sexual favors, whereas
20 at BOP, officers did not need to do that. He would talk to me weekly, and eventually
21 asked me to “show him something.” He commented on how pretty my breasts looked, and
22 said he wanted to see them. I’d ask, “what are you going to give me in return.” And he
23 would tell me to get a “cup,” or a drink from his office.
24                 6.     In October or November 2020, as I was walking in my unit on the way to
25 Food Service, Officer Ramos appeared at my room and told me “don’t move, don’t move
26 your hands,” and locked my cell. Ramos told me that “State don’t got nothing on us,”
27 referring to where I was transferred from and implying that they would treat me much
28 worse than anything I experienced at my previous facility. He took me upstairs to another
     [4316208 3]                                          1
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 1 person’s cell where Officer Deluca was strip searching another person. He told me that
 2 Officer Deluca was going to strip search me too. Officer Deluca brought me upstairs to
 3 another cell and strip searched me without cause. They then ran me through a body
 4 scanner. They took my property, and that of the cell that I was being searched in, which
 5 they tried to claim was mine. I went to SIS and to the Warden the next day to retrieve my
 6 property, and they denied that they had anything to do with the search.
 7                 7.    I also observed Officer Smith converse with the girls from Mexico. He
 8 referred to them as “cheaper.” I was aware that he had a relationship with one girl in
 9 Mexico, and even visited her in Mexico after she was released from FCI Dublin and
10 deported. He would frequently come by another Mexican girlfriend of his, who lived in
11 the cell next to mine, to talk to her. He would talk about how all of his vacations were in
12 Mexico. He would also talk about all of his “properties,” and how much money he had.
13                 8.    During the COVID-19 lockdown, in December 2020 and January 2021,
14 Officer Smith harassed me almost every day that he worked on my unit. Showers were
15 very restricted during lockdown and other women and I would sometimes shower outside
16 of the designated times. When Officer Smith caught us heading there, he would say that if
17 we did not want to get in trouble and receive disciplinary actions, we needed to take off
18 our robes and show him our bodies. One time he pulled off the shower curtain and
19 watched me shower.
20                 9.    Alternatively, he would let us shower, and hold it against us later, instructing
21 us to show him our naked bodies after we showered or risk a disciplinary violation.
22                 10.   During this period, Officer Smith also opened and stood in my cell door
23 while I was naked and watched me. Other times, he would lock my cell door and open it
24 only if I got naked.
25                 11.   During this time, I would also try to get hot water with some other women
26 for food and other needs. Like with the showers, Officer Smith would catch us heading
27 there and threatened to punish us, saying he would not punish us if we stripped for him
28 which we did because we were desperate for hot water.
     [4316208 3]                                         2
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 1                 12.   When I refused his advances on some occasions, Officer Ramos went into
 2 my cell and searched through my possessions in retaliation, stealing some items and
 3 leaving the room in disarray. Officer Ramos also took my roommates’ items intentionally
 4 to create conflict between us. He told me that if I didn’t do what he said, he would “hit”
 5 my room again. “Hit” meant that he would search my cell without reason and to take my
 6 possessions.
 7                 13.   After we came off lockdown, we were much less restricted and I did not pay
 8 him any mind. He started calling me into his office over the intercom. One time Officer
 9 Smith called me into his office over the intercom. When I arrived, he was masturbating
10 himself over his pants with the lights off. He told me he liked my breasts while he
11 masturbated and forced me to stay in the room while he looked at me. He asked me “when
12 am I going to see them again?” referencing my breasts. I would say no, and he would say,
13 “I don’t know why you won’t, they’re nice. You should want to show them.”
14                 14.   I later moved to B-Unit when I began to work for Unicor, and I did not see
15 him as frequently. He specifically liked to work in C-Unit because he had girls there, and
16 he referred to the girls who lived in A-B units as “entitled bitches.” In July or August
17 2021, I was out in the yard on recreation. He was working the perimeter. He would stop
18 and call my name, wanting me to come over and show him my breasts. I told him to get
19 the fuck out of here. I told him that after Bellhouse and Garcia were walked off, he was
20 next.
21                 15.   Even though I was afraid of his abuse, there is no effective way to
22 confidentially report sexual assault and abuse by staff at FCI Dublin. In my experience,
23 there was no available grievance process for this abuse because officers never explained
24 the process of reporting when I entered into Dublin and at any point after. Officers either
25 refused to take allegations seriously or were friends of those against whom allegations
26 were made. To this day, the grievance process at Dublin is largely unavailable. You have
27 to ask your counselor for the BP-9, BP-10, and BP-11 forms, but we haven’t had a
28 counselor on our unit for months. In addition, my unit manager is hardly ever on the unit
     [4316208 3]                                        3
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 1 the same time I am because I work from about 6am to 3:30pm. Even when you get your
 2 staff member, they say they do not have the forms. I have had to really fight to get a BP-
 3 11, a form I needed to report on these ongoing issues.
 4                 16.   After Warden Garcia was put on administrative leave, Dublin officials put up
 5 signs everywhere saying women could report abuse, but there was common knowledge
 6 that the officers ended up taking people to restrictive housing or “hitting their rooms”—
 7 entering their rooms and searching their belongings or messing things up—so any report
 8 risked retaliation.
 9                 17.   People were told that they would be reporting to “The Task Force” outside of
10 Dublin which was said to be independent from Dublin staff, but the reports led to the
11 Special Investigative Specialist (SIS), Lieutenant Putnam at Dublin calling people in and
12 questioning them on things they sent to the Task Force.
13                 18.   Staff at FCI Dublin prevent people from reporting sexual assault and abuse
14 by staff and retaliate against people who do report. I knew that the process was neither
15 independent nor confidential. I knew reporting to SIS Lt. Putnam would lead to retaliation
16 because I saw prison officials retaliate against others, which led me to not want to report
17 the abuse. I saw them monitor phone calls and emails. Even when people email the task
18 force, we know that it is going straight to lieutenants. I also knew that people were sent to
19 the Special Housing Unit (SHU) for reporting or were transferred from the prison for
20 reporting.
21                 19.   Superintendents and supervising officers were not observing what was
22 happening at all, particularly during the lockdown. It was so hard to get any type of help at
23 the time—either from counselors or case managers. And the officers who did know about
24 Officer Smith’s actions, including supervisors, did not do anything about it. I knew these
25 staff knew everything all their coworkers have been doing; all they do is put it under the
26 rug.
27                 20.   Recently, in January 2023, a new Lieutenant came to Dublin, named
28 Lt. Jones. She explicitly told people that she is retaliating against them for the things that
     [4316208 3]                                       4
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 1 are being said about her fellow officers. She told me and my roommates: “I came here
 2 because of everything that’s going on, you can go ahead and write me up, it’s not gonna go
 3 anywhere.”
 4                 21.   On Martin Luther King Day Weekend in 2023, she searched a group of
 5 people against the wall who had been outside in the rain—in front of everyone else. She
 6 screamed at those watching: “stop staring, you’ll be next.” Lt. Jones threatened people,
 7 saying, “I’ll take care of you real good. I’ll go tear up your bunkie’s stuff so she can deal
 8 with you later.” She writes people up for false issues. She screams at people in the dorm
 9 during her night shift, shouting, “You wouldn’t have to deal with staff like me if you
10 hadn’t gotten rid of all the good ones,” and “you told on all the good ones.” I understand
11 that Lt. Jones was placed on administrative leave for sexual assault allegations in
12 March 2023.
13                 22.   In late April 2023, shortly after speaking to the FBI for the first time about
14 my abuse from Officer Smith, Officer Lewis ordered me to unzip my sweatshirt (which I
15 always keep zipped up my neck) and expose my chest while leaving Chow Hall. Given
16 my prior experiences of sexual harassment (Officer Smith was completely fixated on my
17 breasts) – this incident caused me great anxiety and humiliation. When I protested, Officer
18 Lewis told me to keep “running [my] mouth.” I immediately did approach the new SIS
19 lieutenant to tell him what happened, but he did not really care or write anything down.
20 The same day, my cell was searched “randomly”—for the third day in a row.
21                 23.   Officer Lewis has continued to ask me to unzip my sweatshirt nearly every
22 day since then. I told Lt. Putnam about this, and he said it was “unacceptable,” but nothing
23 has changed.
24                 24.   When incarcerated persons report sexual abuse by staff, FCI Dublin and
25 BOP do not seriously investigate the reports. Investigations are frequently delayed and
26 overseen by staff who know and work with the offending staff member. Generally nothing
27 happens as a result.
28                 25.   There is little to no confidential mental health care available to survivors of
     [4316208 3]                                         5
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 1 sexual abuse and assault at FCI Dublin. There is little to no medical care available to
 2 survivors of sexual abuse and assault at FCI Dublin.
 3                 26.   As a result of the abuse I have experienced, I am scared of everything. My
 4 anxiety and depression have exacerbated. I have been incarcerated since 2009, and this
 5 has been the most horrible time I have ever gone through in general, and particularly in
 6 regard to my depression. I had never gone through such difficult things until I got to
 7 Dublin. It has been a hard time period for me, and it still is. I am stressed throughout the
 8 day and have been physically anxious about interacting with different officers. I feel
 9 deeply that the facility is a horrible place, and my experience has been additional
10 punishment than just serving my time.
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     [4316208 3]                                       6
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